                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                      KNOXVILLE DIVISION

   ERIE INSURANCE COMPANY,                           )
                                                     )
                                                     )              3:20-CV-00319-DCLC
                  Plaintiff,                         )
                                                     )
          vs.                                        )
                                                     )
   ELECTROLUX HOME PRODUCTS, INC.,                   )
   et al.,                                           )
                                                     )
                  Defendants.


                                               ORDER
         On November 18, 2020, the Court ordered Plaintiff to show cause by December 2, 2020

  why Defendants GD Midea Air Conditioning Equipment, Ltd., Midea Group Co. Ltd, and Midea

  International Trading Co. should not be dismissed for failure to prosecute as it has failed to

  properly effect service within the time allowed by Federal Rule of Civil Procedure 4(m) [Doc. 13].

  Plaintiff was put on notice that if it did not obtain service, then the Court must dismiss the

  Defendants pursuant to Fed.R.Civ.P. 4(m).

         As of the filing of this order, Plaintiff has not returned the summons as executed, nor has

  it shown good cause why it has not perfected service. Therefore, as Plaintiff has still not obtained

  service according to Fed.R.Civ.P. 4(m) and has not shown cause why it has failed to do so,

  Defendants GD Midea Air Conditioning Equipment, Ltd., Midea Group Co. Ltd, and Midea

  International Trading Co. are DISMISSED without prejudice.

         SO ORDERED:


                                                s/ Clifton L. Corker
                                                United States District Judge




Case 3:20-cv-00319-DCLC-DCP Document 14 Filed 12/11/20 Page 1 of 1 PageID #: 294
